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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 DONALD J. TRUMP and
 WALTINE NAUTA,

       Defendants.
 ________________________________/

                                               ORDER

        Before the Court is the government’s motion for a pretrial conference pursuant to Section 2

 of the Classified Information Procedures Act, 18 U.S.C. App. 3 (“CIPA”). The Court having

 considered the government’s motion and the points and authorities offered in support thereof, hereby

 GRANTS the motion. The parties shall appear at _________________ on ___________, 2023 at

 __________ for a CIPA Section 2 pretrial conference.

        In its motion, the government also sought the appointment of a Classified Information Security

 Officer (“CISO”) to assist the Court, Court personnel, and the defense in the handling of any motions

 and orders pursuant to CIPA, as well as to provide secure facilities for the Court and defense counsel

 to store and process classified information. The Court hereby GRANTS this request and further

 GRANTS the government’s request that the Order appointing the CISO be filed under seal.

        DONE AND ORDERED this ________ day of __________, 2023.


                                              __________________________________________
                                              Honorable Aileen M. Cannon
                                              United States District Judge
